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                        COURTT
 UNITED STATES DISTRICT
 SOUTHERN DISTRICT OF NEW YORK


                                                              Civil Action No.: 20-cv-3178 (LJL)
     HC2, INC.,

                             Plaintiff,
                                                         DECLARATION OF NICK RADOICIC IN
     V.                                                   SUPPORT OF HC2'S OPPOSITION TO
                                                           PLAINTIFF'S MOTION TO DISMISS
     ANDREW DELANEY,
                                                          PURSUANT TO FED. R. CIV. P. 12(b)(1)
                            Defendant.




           I, Nick Radoicic, declare as follows:

           1.      I am the Senior Director of Operations of Plaintiff HC2, Inc. ("HC2"). I am a legal

resident of Indiana.


          2        I have personal knovwledge of all the facts stated herein based on my personal

knowledge and my review of Plaintiffs records.
           3       I have worked as Senior Director of Operations since January 9, 2018, out of the

Chicago office. In my role, I oversee all operations involving special projects and e-discovery,

recruiting, and marketing. I also work closely with the human resources and finance departments,

which are based out of Chicago, to ensure that our contract attorneys and employees are

successfully on-boarded and credentialed.             These operations are critical to execution of our

business.
          4.       I oversee the Special Project Attorney (SPA) recruitment division which recruits

high-level temporary attorneys and places them with HC2's clients. I also work with Denise Asnes,

who handles the      Project Based Staffing (PBS) aspect of recruitment and works out of Philadelphia.
In   May 2019, I held a full    team      meeting out of the Chicago office, where both the   SPA and PBS
teams     came   together for a conference.
                                                         1
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            5.   I have four direct reports, three based out of Chicago and one based out of Boston.

  I hold my staff meetings in Chicago, with one employee dialing in remotely.

            6.   In mid-2018, when HC2 decided to move to a bigger office space in Chicago to

 accommodate management and its growing employee base, I became involved in the operations

 of the move. For instance, I helped devise the layout of our corporate office, secure a quote for the

 construction, purchased new furniture for the office space, and handled the invoicing. HC2 spent

 almost $20,000 in furniture in 2019 to furnish the new office space. HC2's current Chicago office

is the largest in terms of physical space and number of key employees in comparison to all of its

office spaces across the nation. These events all predate April 22, 2020.

        .        l assumed the role and responsibilities ofoverseeing HC2's marketing in June 2020.


HC2 contracts with an advertising company based in Chicago, and I oversee and direct all projects

with that company    to create and   implement HC2's marketing campaigns.


       I declare under penalty of perjury that the above is true and correct, and thatI executed this

declaration this 10th day of January 2021 in Chicago, Illinois.

                                                                            e




                                                                NICK RADOICIC




                                                                                                 45563009.1
